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courts permit third parties to intervene in criminal proceedings in certain circumstances, including

for the protection of privilege. United States v. Scully, No. SA:10-cr-00593, at *2 (W.D. Tex. July

2, 2013).

       For the foregoing reasons, Fusion GPS respectfully requests that the Court allow it to

intervene for this limited purpose.



Dated: April 18, 2022                         Respectfully submitted,

                                                 /s/ Joshua A. Levy
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                                CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on April 18, 2022, the foregoing Motion and accompanying

Proposed Order and Exhibit were sent by email to the Clerk of the Court and to all counsel of

record.


                                                           /s/ Joshua A. Levy
                                                           Joshua A. Levy
